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Information to identify the case:
Debtor 1              Robert C. Hutcheson Jr                                      Social Security number or ITIN   xxx−xx−2479
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Western District of Kentucky

Case number: 18−10207−jal



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Robert C. Hutcheson Jr
           aka Bob Hutcheson


           6/6/18                                                         By the court: Joan A. Lloyd
                                                                                        United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.
However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                               United States Bankruptcy Court
                                               Western District of Kentucky
In re:                                                                                                     Case No. 18-10207-jal
Robert C. Hutcheson, Jr                                                                                    Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0644-1                  User: admin                        Page 1 of 2                          Date Rcvd: Jun 06, 2018
                                      Form ID: 318                       Total Noticed: 27


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 08, 2018.
db              Robert C. Hutcheson, Jr,    400 Lay Rd.,    Glens Fork, KY 42741-8506
cr             +First & Farmers National Bank, Inc.,     224 S Public Square,    Columbia, KY 42728-1499
6265734         ATLANTA POSTAL CREDIT UNION,    Acct No xxxxxxxx0118,     3900 CROWN RD.,    ATLANTA GA 30380-0010
6265736         CHASE,   Acct No xxxxxxxx1509,     ATTN: BANKRUPTCY,    MAIL CODE: OH4-7126,    3415 VISION DR.,
                 COLUMBUS OH 43219-6009
6265738        +DUO COUNTY TELEPHONE CO-OP,    2150 N. MAIN ST.,     JAMESTOWN KY 42629-2511
6265740         FARM SERVICE AGENCY,    Acct No 41-02,    U. S. DEPT OF AGRICULTURE,     916 CAMPBELLSVILLE RD.,
                 COLUMBIA KY 42728-2203
6265741         FIRST & FARMERS BANK,    200 S. WASHINGTON ST.,     ALBANY KY 42602-1226
6265742         FRANKLIN COLLECTION SERVICES,    2978 W. JACKSON ST.,     TUPELO MS 38801-6731
6284241        +First & Farmers National Bank, Inc.,     c/o Harlan Judd,    869 Broadway Ave,
                 Bowling Green, KY 42101-2571
6265743         HON. HUNTER DURHAM,    Acct No 17,    P.O. BOX 100,    COLUMBIA KY 42728-0100
6265744         HON. VAN F. PHILLIPS,    Acct No 17,    P.O. BOX 391,    MONTICELLO KY 42633-0391
6275807        +Harris & Harris Collections,    111 W. Jackson Blvd, Ste 400,     Chicago, IL 60604-4135
6265747         OFFICE OF THE U. S. ATTORNEY,    Acct No 41-02,     WESTERN DISTRICT OF KY,    FARM SERVICE AGENCY,
                 717 WEST BROADWAY,    LOUISVILLE KY 40202-2215
6265748        +SHEILA HUTCHESON,    P.O. BOX 1031,    COLUMBIA KY 42728-6031
6265749        +SHEILA RAE HUTCHESON,    P. O. BOX 1031,    COLUMBIA KY 42728-6031
6265751         WFB/CABELAS,   P. O. BOX 82608,     LINCOLN NE 68501-2608

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/Text: rmcclendon@mbcbank.com Jun 06 2018 19:44:54        Monticello Banking Company,
                 P.O. Box 421,    50 North Main Street,    Monticello, KY 42633-2851
cr             +EDI: RMSC.COM Jun 06 2018 23:23:00       Synchrony Bank,    c/o PRA Receivables Management, LLC,
                 PO Box 41021,    Norfolk, VA 23541-1021
6265733         EDI: URSI.COM Jun 06 2018 23:23:00       ALLTRAN FINANCAIL, LP,    Acct No xxxxxxxx1509,
                 P.O. BOX 722929,    HOUSTON TX 77272-2929
6265735         E-mail/Text: ACF-EBN@acf-inc.com Jun 06 2018 19:43:10        ATLANTIC CREDIT & FINANCE CORP,
                 Acct No xxxxxxxx4631,    P.O. BOX 13386,    ROANOKE VA 24033-3386
6265737         EDI: RCSFNBMARIN.COM Jun 06 2018 23:23:00       CREDIT ONE BANK,    Acct No xxxx-xxxx-xxxx-2067,
                 P.O. BOX 98872,    LAS VEGAS NV 89193-8872
6265739         E-mail/Text: clark.sturgeon@ky.usda.gov Jun 06 2018 19:44:12        FARM SERVICE AGENCY,
                 Acct No 41-02,    U. S. DEPT OF AGRICULTURE,    ATTN: STATE EXECUTIVE DIRECTOR,
                 771 CORPORATE DR., SUITE 100,    LEXINGTON KY 40503-5438
6265745         EDI: MID8.COM Jun 06 2018 23:23:00       MIDLAND FUNDING LLC,    Acct No xxxxxxxx4631,
                 2365 NORTHSIDE DR., SUITE 300,    SAN DIEGO CA 92108-2709
6265746         E-mail/Text: rmcclendon@mbcbank.com Jun 06 2018 19:44:54        MONTICELLO BANKING CO.,
                 Acct No 17,    P. O. BOX 421,   MONTICELLO KY 42633-0421
6275806         EDI: PRA.COM Jun 06 2018 23:23:00       PRA Receivables Management, LLC,    P.O. Box 41021,
                 Norfolk, VA 23541-1021
6265750         EDI: RMSC.COM Jun 06 2018 23:23:00       SYNCB/CARE CREDIT,    Acct No xxxxxxxx4631,
                 P.O. BOX 965060,    ORLANDO FL 32896-5060
6266648        +EDI: RMSC.COM Jun 06 2018 23:23:00       Synchrony Bank,    c/o of PRA Receivables Management, LLC,
                 PO Box 41021,    Norfolk, VA 23541-1021
                                                                                               TOTAL: 11

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 08, 2018                                            Signature: /s/Joseph Speetjens
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                              Form ID: 318                Total Noticed: 27

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                              CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 6, 2018 at the address(es) listed below:
              Albert F. Nasuti    on behalf of Creditor    Atlanta Postal Credit Union anasuti@tokn.com
              Alicia C. Johnson    bkalicia@hotmail.com, bk_bruce@hotmail.com;KY52@ecfcbis.com
              Charles R. Merrill    ustpregion08.lo.ecf@usdoj.gov
              Harlan E. Judd, III    on behalf of Creditor    First & Farmers National Bank, Inc.
               Harlanjuddlaw@gmail.com, juddlawsecretary@gmail.com
              Marilyn J. Neumann    on behalf of Debtor Robert C. Hutcheson, Jr neumannlaw@windstream.net,
               theneumanns3@windstream.net;r42491@notify.bestcase.com
              Van F. Phillips    on behalf of Creditor   Monticello Banking Company office@phillipsattorneys.net
                                                                                              TOTAL: 6
